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                   IN THE CIRCUITUNITED STATES DISTRICT COURT
                               FOR THE FIFTH CIRCUIT
                             STATEDISTRICT OF HAWAI’I

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  LIANE WILSON, and                                 )                                               3", Left
  JOANNA WHEELER ON BEHALF OF                                                     )   Civ.    No.
  __________________CV 11-00538 LEK BMK
  THEMSELVES AND ON BEHALF OF OTHER                         ) (Class Action – Civil Rights)
  FEMALES SIMILARLY SITUATED,                               )
                                                            )
                      CLASS REPRESENTATIVES,                )
                                                            )
                                                            )
                      PLAINTIFFS,                       )
                                     )
          v.                         )
                                     )
WYNDHAM WORLDWIDE CORPORATION, ) CLASS ACTION      ) FIRST
AMENDED
  WYNDHAM WORLDWIDE CORPORATION,       ) COMPLAINT                                                  Formatted: Font: Bold
                           WYNDHAM VACATION OWNERSHIP, INC.,                                        Formatted: No Spacing, Indent: Left: 0", Line
)                                                                                                   spacing: single
WYNDHAM VACATION RESORTS, INC.,      )                                                              Formatted: Strikethrough
MICHAEL JONAH, MARK POLLARD, AND TOM   )

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  VIRAG, DOE I through X, and ROE BUSINESS                )
  ENTITIES I through X, inclusive,                        )
VIRAG                                                     )
                                                          )
                                                          ) JURY TRIAL DEMANDED
                                                          )
                       DEFENDANTS.                        )
                                                          )

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                                     CLASS ACTION COMPLAINT

       Plaintiffs LIANE WILSON and JOANNA WHEELER, on behalf of themselves and

others similarly situated, allege:

                                     NATURE OF THE ACTION

       1.      This action arises under HRS §§ 378-1 et seq., H.R.S. § 378-61, et seq., and

Hawai’i common law and seeks to correct prohibited discrimination on the basis of gender by

WYNDHAM WORLDWIDE CORPORATION, WYNDHAM VACATION OWNERSHIP,

WYNDHAM VACATION RESORTS, INC. (“Corporate Defendants”), Vice President of Sales

Mark Pollard, Vice President of Sales Michael Jonah, and Director of Sales Tom Virag

(“Individual Defendants”) (collectively “Wyndham”).         Plaintiffs LIANE WILSON and

JOANNA WHEELER (collectively “Class Representatives” or “Plaintiffs”), are similarly

situated with other Wyndham employees (collectively, the “Class” and “Class Members”) who

were disparately treated and who were adversely affected by Wyndham’s facially neutral policies

and practices. Management at Wyndham is undeniably male dominated.

       2.      Over the course of Plaintiffs’ employment at Wyndham, Wyndham permitted

management to grant favorable sales opportunities to male Sales Associates and female Sales

Associates who responded to male managers’ sexual requests.        Because Sales Associates’


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compensation is based solely on sales commission, male-dominated management’s manipulation

of sales opportunities resulted in discriminatory compensation against the ClassPlaintiffs.

Moreover, Sales Associates’ promotional opportunities are heavily dependent on management’s

discretion, resulting in discriminatory denials of promotion and career-enhancing opportunities

against the Class. Further, women who were pregnant or had childcare responsibilities were

subjected to increased scrutiny, which led to discriminatory pay, discriminatory denial of

promotional and/or career-enhancing opportunities, and wrongful terminationPlaintiffs.

       3.      Additionally, Wyndham fostered a corporate culture that was hostile to women

and highly-sexualized. Female Sales Associates were harassed by both male managers and male

coworkers.    When female employees complained about rampant discrimination, Wyndham

refused to act on grounds generally applicable to the proposed class through its refusal to address

these concerns. Indeed, Wyndham retaliated against Plaintiffs and similarly situated employees

for opposing its unlawful conduct.

                                     JURISDICTION AND VENUE                                           Formatted: Indent: Left: 0.5"


       4.3.    Jurisdiction in this case is proper pursuant to Haw. Rev. Stat. § 603-21.5(3).

       5.4.    Venue in this Court is proper because the injuries sustained by Ms. Wilson and

Ms. Wheeler, as well as the acts and omissions of Defendants, occurred in Princeville, Hawai’i,

and because Defendants have offices in and regularly transact business in Princeville, Hawai’i.




                      CONDITIONS PRECEDENT TO SUIT UNDER
                         HAW. REV. STAT. §§ 368-11, 368-12

       6.5.    Ms. Wilson has fulfilled all conditions precedent to the institution of this action

under the laws of the State of Hawai’i. Ms. Wilson has filed an appropriate charge of sexual

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harassment, gender discrimination, and retaliation with the Hawai’i Civil Rights Commission

(“HCRC”); Plaintiff received a “Right to Sue” letter on March 8, 2011.

       7.6.    Ms. Wheeler has filed an appropriate charge of gender discrimination and

retaliation with the Hawai’i Equal Employment Opportunity Commission (“EEOC”) on May 27,

2011, and is in the process of perfecting her rights.




                                             PARTIES
       A.      Plaintiffs

       8.      Plaintiff Liane Wilson (hereafter “Ms. Wilson”) was employed by Wyndham as

a Sales Associate at Wyndham’s Bali Hai Villas location (“Princeville site”) in Princeville,

Kauai. She currently resides in Princeville, HI.

       9.      Plaintiff Joanna Wheeler (hereafter “Ms. Wheeler”) was employed by

Wyndham as a Sales Associate at Wyndham’s Bali Hai Villas location in Princeville, Kauai.

She currently resides in Kapaa, HI.

       B.      Corporate Defendants

       10.     Defendant Wyndham Worldwide Corporation (“Wyndham Worldwide”) is a

Delaware corporation with its principal place of business in Parsippany, New Jersey. It is

registered with the Hawai’i Secretary of State as a foreign profit corporation.   Defendant

Wyndham Worldwide has a significant presence in most major hospitality markets globally and

throughout the United States. Defendant Wyndham Worldwide regularly transacts business in

and operates numerous hospitality facilities in the State of Hawai’i.

       11.     At all times relevant to this Complaint, Defendant Wyndham Worldwide has been

an “employer” as defined under Haw. Rev. Stat. § 378-1.

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       12.     Defendant Wyndham Worldwide offers lodging, vacation exchange/rental, and

vacation ownership segments of the hospitality industry and touts more than 20 brands, including

Wyndham Hotels and Resorts, Ramada, Days Inn, Super 8, Wyndham Rewards®, RCI, Landal

GreenParks, English Country Cottages, Novasol, Wyndham Vacation Resorts (formerly Fairfield

Resorts), and WorldMark by Wyndham (formerly TrendWest Resorts). Upon information and

belief, Defendant Wyndham Worldwide is the parent company of the other named business

entity Defendants. Because of the complicated and often hidden interrelationships between and

among the named Defendant business entities and fictitious Defendant entities, the exact

connection between and among the Wyndham entities is not completely known at this time. On

information and belief, Defendant Wyndham Worldwide maintains control over central business

functions in conjunction with other related Wyndham Corporate entities.

       13.     Defendant Wyndham Vacation Ownership, Inc. (“Wyndham Vacation

Ownership”) is a Delaware corporation registered with the Hawai’i Secretary of State as a

foreign profit corporation.     Defendant Wyndham Vacation Ownership regularly transacts

business in and has multiple facilities in the State of Hawai’i.

       14.     At all times relevant to this Complaint, Defendant Wyndham Vacation Ownership

has been an “employer” as defined under Haw. Rev. Stat. § 378-1.

       15.     Defendant Wyndham Vacation Ownership engages in the marketing and sales of

vacation ownership interests, consumer financing in conjunction with the purchase of vacation

ownership interests, property management services to property owners’ associations, and

development and acquisition of vacation ownership resorts. Defendant Wyndham Vacation

Ownership touts itself to be the largest vacation ownership business in the world. Defendant

Wyndham Vacation Ownership is headquartered in Orlando, Florida, and maintains a network of



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140 properties, 20,000 individual units, and over 800,000 property owners across North

America, the Caribbean, and the South Pacific. Because of the complicated and often hidden

interrelationships between and among the named Defendant business entities and fictitious

Defendant entities, the exact connection between and among the Wyndham entities is not

completely known at this time. Defendant Wyndham Vacation Ownership has been named a

Defendant in this lawsuit because, upon information and belief, it employed Ms. Wilson and Ms.

Wheeler at some point in time relevant to this suit.

       16.     Defendant Wyndham Vacation Resorts, Inc. (“Wyndham Vacation Resorts”) is

a Delaware corporation registered with the Hawai’i Secretary of State as a foreign profit

corporation.    Defendant Wyndham Vacation Resorts is registered as doing business in

“timesharing” as “Wyndham Vacation Resorts, Inc.”          Defendant Wyndham Vacation Resorts,

Inc. regularly transacts business in and has multiple facilities in the state of Hawai’i.

       17.     At all times relevant to this Complaint, Defendant Wyndham Vacation Resorts

has been an employer as defined under Haw. Rev. Stat. § 378-1.

       18.     Defendant Wyndham Vacation Resorts is believed to be part of Defendant

Wyndham Vacation Ownership and, upon information and belief, sells and finances vacation

ownership interests and develops vacation ownership resorts. Because of the complicated and

often hidden interrelationships between and among the named Defendant business entities and

fictitious Defendant entities, the exact connection between and among the Wyndham entities is

not completely known at this time. Upon information and belief, Defendant Wyndham Vacation

Resort maintains control over central business functions in conjunction with other related

Wyndham Corporate entities.

       C.      Individual Defendant Michael Jonah



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       19.     Defendant Michael Jonah (“Defendant VP Jonah”), at all times relevant to the

allegations herein, was a resident of Hawai’i.

       20.     Upon information and belief, Defendant Jonah has been employed by one or more

Corporate Defendants as Vice President of Sales. Upon information and belief, he is still

employed at Wyndham in this location and same role. At all times relevant to this Complaint,

Defendant Jonah was a supervisor and “agent” of Wyndham.

       D.      Individual Defendant Mark Pollard

       21.     Defendant Mark Pollard (“Defendant VP Pollard”), at all times relevant to the

allegations herein, was a resident of Hawai’i.

       22.     Defendant Pollard was employed by one or more Corporate Defendants as Area

Vice President and Vice President of Sales of the Princeville site. At the end of 2010, he was

relocated to Wyndham’s Waikiki site and assumed the position of Vice President of Sales of the

Waikiki site. He is still employed at Wyndham. At all times relevant to this Complaint,

Defendant Pollard was a supervisor and “agent” of Wyndham.

       E.      Individual Defendant Thomas Virag

       23.     Defendant Thomas Virag (“Defendant Director of Sales Virag”), at all times

relevant to the allegations herein, was a resident of Hawai’i.

       24.     Defendant Virag has been employed by one or more Corporate Defendants as

Director of Sales of the Princeville site. He is still employed at Wyndham in the same location

and same role. At all times relevant to this Complaint, Defendant Virag was a supervisor and

“agent” of Wyndham.

      F.     DOE and ROE Defendants




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       25.     The exact nature of the interrelationship between and among the Wyndham

entities is unclear. At times, the Wyndham entities, on a national and international basis, appear

to use their names interchangeably and on an inconsistent basis where one entity is sometimes

presented to be part of the Wyndham entities and, at other times, to represent all of the

Wyndham entities.

       26.     DOE Defendants I-X are natural persons who own, operate, or control the named

Defendant business entities. DOE Defendants I-X are also natural persons who directed, assisted

in, or ratified the illegal actions of the named Defendants.

       27.     The ROE DEFENDANT BUSINESS ENTITIES, I-X directed, assisted in or

ratified the wrongful and illegal actions of the named Defendants. The ROE DEFENDANT

BUSINESS ENTITIES, I-X are entities, including without limitation, predecessors, successors,

parent or subsidiary business entities, or other kinds of business entities or organizations, which

are related to, connected to, control, or operate any of the named Defendant business entities.

       28.     DOE and ROE Defendants are persons, entities, or organizations who engaged in,

oversaw, directed, ratified, or assisted in the wrongful actions against the Plaintiffs along with

the named Defendants, or who may be individual owners, officers, agents, managers, or

employees of any of the named Defendant business entities or the DOE or ROE Defendants.

DOE and ROE Defendants are agents, servants, employees, employers, trade venturers, and/or

partners of the named Defendants and the DOE and ROE Defendants, and/or each other. At the

time of the actions which form the basis of this complaint, DOE and ROE Defendants were

acting within the color, purpose, and scope of their relationships, and by reason of their

relationships, Defendants (hereinafter collectively referred to as “Defendants” and includes those




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who are named and those sued as DOES and ROES) are jointly, severally, and/or vicariously

responsible and liable for the acts and omissions of their co-Defendants.

       29.     The real names of DOE and ROE Defendants are unknown to the Plaintiffs at this

time because Plaintiffs are not privy to the complex interrelationship and ownership status of the

numerous corporations and business entities which seemed to be operating together at times and

separately at others. Plaintiffs are also not completely privy to the hierarchical relationship

between the named Defendants and DOE and ROE Defendants.

       30.     Along with the named Defendants, these DOE and ROE Defendants also owe a

duty to Plaintiffs, which was breached. Therefore, they too are liable for the damages and

injuries which Plaintiffs sustained. Plaintiffs will seek leave to amend this complaint and

substitute the true names of the DOE and ROE Defendants as soon as the true identities are

revealed.

                                       CLASS CLAIMS

       31.     The Class Representatives and the class seek to represent female Sales Associates

employed by Wyndham. Female Sales Associates at Wyndham have been subjected to systemic

gender discrimination involving a battery of policies, which have also had an unlawful disparate

impact on them and their employment opportunities. These policies and/or practices result in

disparate pay and promotion opportunities. Wyndham in effect bars females from better and

higher paying positions, which have traditionally been held by male employees. The systemic

means of accomplishing such gender stratification include, but are not limited to, Wyndham’s

promotion, advancement, performance evaluation policies, practices, and/or procedures.

       32.     Wyndham’s discriminatory promotion, advancement, and performance evaluation

policies, practices, and/or procedures include the following: (a) relying upon subjective



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 judgments, procedures and criteria, which permit and encourage the incorporation of gender

 stereotypes and bias by Wyndham’s predominately male managerial and supervisory staff in

 making promotion, performance evaluation, and compensation decisions; (b) refusing or failing

 to provide female employees with opportunities to demonstrate their qualifications for

 advancement; (c) refusing or failing to establish and/or follow policies, practices, procedures, or

 criteria that reduce or eliminate disparate impact and/or intentional gender bias (e.g.,

 manipulating sales tours); (d) using informal, subjective selection methods which allow for

 gender discrimination; (e) disqualifying female employees for vacancies by unfairly disciplining

 them more frequently and more severely than male employees, including but not limited to,

 being disciplined for engaging in behaviors for which male employees are not disciplined; and

 (f) discouraging applications and expressions of interest for career advancement by females.

        33.     Wyndham’s promotion policies, practices, and/or procedures have had a disparate

 impact on the Class Representatives and the class members. Such policies, practices, and/or

 procedures are not valid, job-related, or justified by business necessity. There are alternative and

 objective selection procedures available to the Defendants that are more closely related to the

 actual responsibilities of the positions and that would have less of a disparate impact on females.

 However, the Defendants have failed or refused to use such alternative procedures.

        34.     The Defendants’ promotion, training, performance evaluation, compensation, and

 transfer policies, practices, and/or procedures have disparately impacted the Class

 Representatives and the class they seek to represent.        Such practices form a part of the

 Defendants’ overall pattern and practice of keeping females in lower employment classifications

 with less desirable terms and conditions of employment.




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        35.     Additionally, Class Representative Ms. Wilson and the class she seeks to

 represent have been subjected to sexual harassment and gender hostility at work, both severe and

 pervasive, which affects the terms and conditions of their employment. The Defendants’ actions

 and inactions encourage this behavior by its male employees.

        36.     Class Representative and class members have no plain, adequate, or complete

 remedy at law to redress the rampant and pervasive wrongs alleged herein, and this suit is their

 only means of securing adequate relief. Class Representative and class members are now

 suffering irreparable injury from Wyndham’s unlawful policies, practices, and/or procedures as

 set forth herein, and will continue to suffer unless those policies, practices, and/or procedures are

 enjoined by this Court.

        37.     Because of the Defendants’ systemic pattern and practice of gender

 discrimination, the Class Representatives and the class they seek to represent have been

 adversely affected and have experienced harm, including loss of compensation, wages, back pay,

 and employment benefits.

                CLASS REPRESENTATIVES’PLAINTIFFS’ ALLEGATIONS

        A.      Liane Wilson

        38.25. Ms. Wilson brings individual and class claims to recover damages for sexual

 harassment/hostile work environment, gender discrimination, and retaliation.

        39.26. Ms. Wilson began her employment with Wyndham in December 2006 as a Sales

 Associate at Wyndham’s Princeville, Hawai’i site. At the time she applied and was offered

 employment at Wyndham, Ms. Wilson was not living on the island of Kauai. As a result, she

 relocated her home and family to Kauai so that she could pursue a career at Wyndham.




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        40.27. Throughout her career with Wyndham, Ms. Wilson was a high performer and won

 all of Wyndham’s awards for top performers, including the Legend Award, Top Performer of the

 Year, Rookie of the Year, and President’s Club. Her closing percentage surpassed 68 percent

 and she generated an average of $3 million in sales each year for the Wyndham.                       Formatted: Strikethrough


                i.     Sexual Harassment/Hostile Work Environment

        41.28. Within weeks after joining the Company in December 2006, VP Pollard

 approached Ms. Wilson and began to sexually harass her. VP Pollard’s harassment included

 comments about Ms. Wilson’s breasts and suggestions that she wear shorter skirts or low-cut

 blouses. On one occasion, VP Pollard told Ms. Wilson that his wife knew that he slept around

 with other women and that she didn’t care. He said specifically that his wife would not care if he

 and Ms. Wilson slept together. Suggestive comments such as these occurred frequently.

        42.29. VP Pollard also frequently invited Ms. Wilson to have drinks with him. During

 award ceremonies, VP Pollard would ask Ms. Wilson to stay with him after everyone else left.

 Situations like these became so frequent that Ms. Wilson eventually asked her husband to

 accompany her to Company events.          This harassment continued up until the date of her

 termination.

        43.30. In addition to the sexual harassment committed by Wyndham management, the

 Company also tolerated coworker harassment.         Ms. Wilson experienced sexual harassment

 perpetrated by a male colleague, Sales Associate Charles Simerka, who transferred from

 Tennessee and was living at a timeshare provided to him by Wyndham as a gratuity. Mr.

 Simerka routinely made inappropriate remarks about Ms. Wilson’s clothes and body. During

 meetings with clients, he would gesture to her body and say, “This is why she sells so much.”

 Like VP Pollard, Mr. Simerka often told dirty jokes at the office. On several occasions, Ms.



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 Wilson complained to Defendant Vice President of Sales Jonah about Mr. Simerka’s behavior.

 VP Jonah always dismissed Ms. Wilson’s concerns with comments such as, “That’s just because

 he’s a Southerner,” or “Boys will be boys.” In August 2009, Ms. Wilson brought her concerns to

 Human Resources Director Andrea Ward (“HR Director Ward”). HR Director Ward told Ms.

 Wilson that the Company would “take care of it.” However, upon information and belief, no

 investigation was conducted.     Mr. Simerka’s behavior continued up until the date of her

 termination.

        44.31. Ms. Wilson was humiliated by the frequent sexual harassment to which she and

 her female colleagues were subjected at Wyndham.




                   i. Discriminatory Compensation and Denial of Career-Enhancing
                      Opportunities

        45.32. Ms. Wilson quickly learned that Wyndham cultivated an environment in which

 male managers enjoyed unbridled decision-making power and used this power to bestow

 promotions and the most favorable sales opportunities upon male employees and female

 employees who consented to their sexual requests. Because Ms. Wilson was a female employee

 who refused Defendant Pollard’s sexual advances, she was denied opportunities that affected her

 pay and chances for promotion.

        46.33. On one occasion, Defendant VP Jonah promoted female Sales Associate Tashina

 Lane to a management position after Ms. Lane began having sexual relations with him. VP

 Jonah then transferred male Sales Associate Rock White to Ms. Lane’s group and manipulated

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 the “Daily Manifest”—the record of timeshare tours to be given by Sales Associates within a

 given day. As a result, Mr. White was assigned only tours for existing Wyndham owners who

 were seeking upgrades and whose credit and debt levels had already been approved by the

 Company. Thereafter, Mr. White began generating a substantially larger amount of business

 than the other Sales Associates, earning between $50,000 and $60,000 per month in

 commissions.        Because Ms. Lane was Mr. White’s direct manager, Ms. Lane received a

 percentage of these commissions and, as a result, earned more compensation than others at the

 Princeville site.

         47.34. Similarly, Wyndham’s male managers discriminated against female employees

 who refused their sexual advances by, inter alia, manipulating the Daily Manifest so that these

 women were given no tours or the most unfavorable tours; placing these women on specific

 performance (“SP”) plans when they failed to meet their sales goals; and ultimately terminating

 female employees who refused their sexual advances entirely.

         48.35. For instance, in the summer of 2008, Defendant VP Pollard approached Sales

 Associate Lisa Sharegt and requested that she have sexual relations with him. When Ms. Sharegt

 refused VP Pollard’s advances, Defendant Pollard manipulated the Daily Manifest so that Ms.

 Sharegt was not given any timeshare tours for existing Wyndham owners who were seeking

 upgrades. Instead, Defendant Pollard gave Ms. Sharegt only tours for clients who were uncertain

 about purchasing from Wyndham or whose debt levels made them questionable candidates for

 ownership. As a result, Ms. Sharegt’s sales numbers dropped so that her Volume Per Guest

 (“VPG”) dropped to just above the 2,000 benchmark under which an employee is eligible to be

 fired. The VPG represents how much a Sales Associate earns per each potential client to whom

 she gives a tour, and is used by Wyndham to measure Sales Associates’ performance. VP



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 Pollard then terminated Ms. Sharegt, despite the fact that her VPG was above the 2,000

 benchmark and that she had never been placed on an SP plan.

        49.36. By contrast, in September 2009, VP Pollard promoted Joyce Keyhoe, a female

 Sales Associate who was openly engaged in a sexual relationship with him, to a manager

 position. Ms. Keyhoe’s VPG was 1,800, or 200 points below the benchmark for firing.

        50.37. On another occasion, VP Pollard failed to discipline a male Sales Associate

 whose VPG was below the firing mark.

        51.38. Upon information and belief, despite egregious instances of gender discrimination

 and sexual harassment, and despite frequent complaints regarding these incidents to Wyntegrity

 and Wyndham Human Resources (“HR”), Wyndham failed to discipline the male harassers or

 remedy the situation. In addition, some Wyndham employees who complained about the gender

 discrimination and sexual harassment were fired for making these complaints. In fact, in 2008,

 Defendant Pollard announced that anyone who made complaints to HR would be fired.

        52.39. True to VP Pollard’s word, Ms. Wilson observed that three Sales Representatives

 who complained directly to HR Director Ward were fired within 45 days of making their

 complaints. Specifically, in approximately the fall of 2008, VP Pollard physically and verbally

 assaulted Regina Hodges (“Ms. Hodges”), a female Sales Associate, in a car. Ms. Hodges and

 two witnesses, male Sales Associate Joseph Gephardt (“Mr. Gephardt”) and female Sales

 Associate Jessica Mugrage (“Ms. Mugrage”), who reported the attack to HR Director Ward,

 were subsequently fired. Ms. Wilson also complained about the attack to HR Director Ward and

 gave her the names of additional individuals to interview regarding the incident. Although Ms.

 Wilson followed up with HR Director Ward on multiple occasions regarding the investigation of




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 Defendant Pollard’s attack, HR Director Ward never responded to her inquiries and never

 conducted any additional interviews.

        53.40. In addition to HR Director Ward, other Wyndham Corporate representatives were

 aware of the rampant sexual harassment and gender discrimination at Wyndham but failed to

 take any action in response. For instance, in approximately September 2009, Administrative

 Director Cindy Lund conducted asexual harassment training at the Princeville site. As part of

 this training, Ms. Lund displayed computer modules with actors acting out different examples of

 sexual harassment. In the middle of this presentation to male and female Sales Associates,

 Defendant VP Jonah interrupted Ms. Lund and stated that our group did not need “this

 nonsense.” Defendant VP Jonah stated that everyone already knew what they needed to know.

 VP Jonah then pointed to Sales Associate Holly Fitzpatrick’s chest and advised that if a man

 wanted to say, “Check out the headlights on Holly,” he should first ensure that there were no

 women around. VP Jonah instructed Ms. Lund to pack up her computer and leave. Although

 this sexual harassment training was required by the Company, Wyndham never reprimanded VP

 Jonah for his statements and actions, and the Princeville site never received any additional sexual

 harassment training.

              i.        Discriminatory Actions Related to Pregnancy and Maternity Leave

        54.41. Over the course of Ms. Wilson’s employment, she also observed Wyndham

 discriminate against female employees because they were pregnant or were working mothers.

 Female Sales Associates who took leave for pregnancy or childcare responsibilities faced

 increased scrutiny at the hands of Wyndham management.

        55.42. For example, Defendant VP Jonah often threatened to place Ms. Mugrage on

 probation due to attendance issues when she asked to take time off to care for her son when he



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 was ill. VP Jonah’s treatment of Ms. Mugrage was in sharp contrast to his treatment of male

 Sales Associate Makana Osbourne. Mr. Osbourne often missed days of work. On the days he

 did appear at the office, he would sometimes smell of alcohol and appear under the influence of

 illegal substances. However, despite Mr. Osbourne’s attendance problems and appearance, he

 was never disciplined.

        56.43. Ms. Mugrage complained to Defendant VP Pollard about the disparate treatment

 she was experiencing, pointing out that Mr. Osbourne was not being evaluated at the same

 standards. However, Defendant Pollard dismissed her concerns.

               i.         Retaliation

        57.44. In March 2007, Ms. Wilson confronted Defendant VP Pollard about his sexual

 harassment. She told him that his behavior was inappropriate and that it was making her work

 environment uncomfortable, and asked him to stop. After a brief respite, Defendant Pollard

 resumed his harassment of Ms. Wilson.

        58.45. Ms. Wilson then turned to the Company for help. She contacted HR Director

 Ward. When she told HR Director Ward about Defendant VP Pollard’s sexual harassment of

 her, HR Director Ward responded, “Maybe you should just wear turtlenecks.”

        59.46. Ms. Wilson also sought help from Clarice Inouye, Wyndham’s Human Resources

 Manager (“Ms. Inouye”) located in Kauai. However, Ms. Inouye’s response was equally non-

 responsive.

        60.47. Ms. Wilson soon realized that the Company would not respond to complaints

 about sexual harassment. The Company’s refusal to take action to protect its female employees

 communicated to male employees that there were no consequences to their behavior. While Ms.




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 Wilson’s requests for help fell on deaf ears, male managers and male Sales Associates continued

 to harass and discriminate against women with impunity.

        61.48. In September 2009, immediately following Defendant VP Pollard’s promotion of

 Ms. Keyhoe, Ms. Wilson complained again to Defendant VP Pollard about the rampant

 discrimination at the Princeville site. Specifically, Ms. Wilson told Defendant VP Pollard that

 the discriminatory treatment of women could not continue, and that it was uncomfortable to

 work at Wyndham. In response, Defendant VP Pollard stated that Ms. Wilson could either

 “party with the boys” or keep her mouth shut and continue to earn a large paycheck.

        62.49. Despite VP Pollard’s previous threats to terminate any employees who contacted

 HR, Ms. Wilson immediately contacted HR Director Ward by phone and filed a formal

 complaint through Wyndham’s corporate hotline, Wyntegrity, about the rampant sexual

 harassment and gender discrimination at the Princeville site. Ms. Wilson further informed the

 Company that Wyndham’s management at Princeville was manipulating hundreds of thousands

 of dollars through discriminatory promotions and sales opportunities.

        63.50. In September 2009, the day after Ms. Wilson made complaints to both Defendant

 VP Pollard and HR Director Ward, Defendant VP Jonah called Ms. Wilson into her office and

 informed her that she was being suspended. Defendant VP Jonah stated that the directive had

 come from Defendant VP Pollard and that Ms. Wilson was to go home and not return to the

 premises. Ms. Wilson was put on suspension for four days, which negatively impacted her

 entirely commissions-based compensation.

        64.51. Finally, Defendant VP Jonah contacted Ms. Wilson and requested that she return

 to the Princeville site to meet with him. During this meeting, Defendant VP Jonah informed her

 that one of the owners had complained about her.



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        65.52. VP Jonah informed Ms. Wilson that Wyndham would investigate the complaint

 against her. She remained on suspension until October 4, 2009, when VP Jonah again called her

 into his office and stated that Wyndham decided she needed to separate from the Company.

        66.53. Following her wrongful termination, Ms. Wilson contacted HR Director Ward

 and requested that HR Director Ward provide her with written documentation of the reason why

 she was terminated. In response, HR Director Ward informed her that Wyndham did not provide

 any such written documentation.

        67.54. Wyndham’s actions demonstrated to Ms. Wilson that they were terminating her

 because she had engaged in protected activities, including reaching out to its corporate office to

 report discriminatorily based manipulation of Company tours and dollars at its Hawaii resorts.




        B.      Joanna Wheeler

        68.55. Ms. Wheeler brings individual and class claims to recover damages for gender

 discrimination and retaliation.

        69.56. In March 2009 Ms. Wheeler began her employment with Wyndham as a Sales

 Associate at Wyndham’s Princeville, Hawai’i site.

        70.57. Prior to working for Wyndham, Ms. Wheeler worked in the sales industry for

 nearly twenty years.

        71.58. Ms. Wheeler demonstrated promising performance when she joined the

 Company. Ms. Wheeler received an award for achieving an exceptional monthly volume after



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 working for the Company for a mere six months.

                 i.    Discriminatory Compensation and Denial of Career-Enhancing
                       Opportunities

        72.59. In the course of Ms. Wheeler’s employment, Wyndham subjected her to

 discrimination in employment based on her sex and pregnancy by denying her pay and

 promotional opportunities equal to those of similarly-situated male employees, subjecting her to

 disparate terms and conditions of employment, a hostile work environment, retaliation, wrongful

 termination, and other forms of discrimination.

        73.60. As alleged herein, Wyndham cultivated an environment in which male managers

 enjoyed unbridled decision-making power and used this authority to bestow the most favorable

 sales opportunities upon male employees, thereby opening doors to pay and promotional

 opportunities routinely withheld from women.

        74.61. Ms. Wheeler observed this preferential treatment afforded to male employees

 throughout her employment at Wyndham.

        75.62. A portion of the Marketing Department Representatives’ (“Marketing”)

 compensation system depended on the volume of tours they were able to book for the Wyndham

 Sales Associates like Ms. Wheeler.      As a result, Marketing often booked tours for Sales

 Associates with guests who were “unqualified” for the tours, e.g. did not meet minimum income

 requirements.

        76.63. Company policy permitted Sales Associates to approach Marketing to have a tour

 removed from their records if, during the tour, the Sales Associate discovered that the guest was

 somehow unqualified. This had the effect of protecting a Sales Associates’ numbers from being

 unfairly skewed by the types of guests assigned to them by Marketing.




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        77.64. Soon after she began working at Wyndham, Ms. Wheeler noticed male Sales

 Associates were given preferential treatment when they requested that the Company remove a

 tour from their records.

        78.65. For example, on one occasion she observed male employee Rock White (“Mr.

 White”) discussing potential tours with his manager. Even though Wyndham policies prohibited

 managers from influencing the assignment of tours, Mr. White was permitted to review available

 tours and select those that he preferred.

        79.66. The preferential treatment given to male Sales Associates had a direct and

 obvious impact on their performance. Specifically, due to the preferential and discriminatory

 treatment granted to Mr. White, his sales numbers quickly increased.

        80.67. Even though Mr. White was unable to make a sale each day, his numbers

 continued to grow. As a result of this treatment, Mr. White’s compensation and his opportunities

 for advancement at the Company increased.

        81.68. Although male management gave ample leeway to male employees, they did not

 similarly treat Ms. Wheeler. For example, on one occasion, Marketing assigned Ms. Wheeler to

 a couple who clearly did not meet the income requirements. This became clear to her as she

 interacted with the guests, one of whom was an unemployed full-time student. However, when

 Ms. Wheeler approached Marketing to request that it mark the guests as “unqualified,”

 Marketing flatly denied her request. Although Ms. Wheeler brought up her frustrations to her

 managers, they never offered to step in on her behalf to support her.

        82.69. During the last months of Ms. Wheeler’s employment, the Company often

 scheduled her tours so that she did not have time in between to prepare for her tours or even to

 use the restroom, rest, or eat. The unmanageable schedule she was given made work extremely



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 stressful and made it difficult for her to perform as well. Male employees such as Mr. White,

 however, enjoyed manageable schedules that permitted them to rest and prepare for their next

 tours. Ms. Wheeler reached out to Defendant Director of Sales Virag to inform him that she was

 struggling with her schedule and to propose a change to make her schedule more manageable.

 However, Director Virag told her that she had to take the tours assigned to her. This open and

 constant disparate treatment of females at the Company denied female employees equal sales

 opportunities, compensation, and career-advancement opportunities.

         83.70. Around December 2009, Ms. Wheeler also expressed concerns about the

 wrongful termination of Ms. Wilson. On several occasions when the topic of Ms. Wilson’s

 termination arose, Ms. Wheeler complained that she believed Ms. Wilson had been discriminated

 against. Specifically, in January 2010, Ms. Wheeler told Defendant VP Jonah the employees at

 the Princeville site, including her, were shocked by Ms. Wilson’s termination. Defendant VP

 Jonah verbally disciplined Ms. Wheeler for speaking out about Ms. Wilson’s termination, stating

 that her dissent was negative and unacceptable.

                ii.    Pregnancy Discrimination and Retaliation

         84.71. Ms. Wheeler became pregnant in December 2009. In February 2010, she had a

 miscarriage. Because of the loss, she went on leave. Although she was devastated by the loss,

 she returned to work after a week because she was concerned that male-dominated management

 would think poorly of her for taking more time off. Wyndham treated Ms. Wheeler differently

 than it treated its male employees, who were given consideration for their personal family

 situations.

         85.72. After her return from maternity leave, in July 2010, management announced that

 it was raising the Volume Per Guest (“VPG”), to $2700. Management stated that the Sales



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 Associates were expected to achieve 10 percent above the minimum for a total VPG of $3100.

 Prior to this change, the minimum VPG had been $2100 per guest.

        86.73. Due to the change, Ms. Wheeler fell slightly below the minimum VPG.

 Nevertheless, her numbers hovered close to this new benchmark. Soon after the announcement

 and before Ms. Wheeler had had an opportunity to raise her VPG, her manager Defendant VP

 Jonah informed her that she was being placed on a Specific Performance (“SP”) plan for failing

 to meet this new minimum. Had management objectively enforced the proclaimed “minimum,”

 many of Ms. Wheeler’s colleagues would have also been placed on SP.

        87.74. As part of the SP, Wyndham required Ms. Wheeler to make at least two sales per

 twelve guests (“CRS’s”) in order to keep her job. Notably, the Company assigned multiple

 guests to each of her tours, which effectively reduced her sales opportunities from twelve to nine

 tours. Upon information and belief, Wyndham did not similarly manipulate the number of

 CRS’s per tour for similarly-situated males.

        88.75. Ms. Wheeler accomplished two large sales out of thirteen CRS’s (i.e. nine tours),

 and each sale had a net value of $46,600.

        89.76. On August 2, 2010, two days after Ms. Wheeler completed her second sale and

 the sale was announced to the office, Defendant Director Virag pulled her aside and told her that

 he and Defendant VP Jonah wanted to meet with her in his office.

        90.77. When Ms. Wheeler arrived at his office, Defendants VP Jonah and Director Virag

 told her that she was being terminated for not meeting the terms of her SP.

        91.78. Ms. Wheeler was upset by this news, partly because she had noticed the

 preferential treatment given to her male colleague, Joseph Trosino (“Mr. Trosino”), who was

 also on SP with her at the time. Specifically, the managers did not terminate him when he failed



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 to complete his second sale in twelve tours. In fact, even though the terms of the SP required

 Mr. Trosino to make two sales out of twelve CRS’s, they gave him a thirteenth tour as a second

 chance to meet the criteria. Mr. Trosino made a sale on his thirteenth tour. From his two sales,

 Mr. Trosino sold a combined total volume of $17,000. On the date of her termination, Ms.

 Wheeler’s VPG was more than double Mr. Trosino’s.

        92.79. Ms. Wheeler asked Defendant VP Jonah why the Company was terminating her

 on the one hand, and giving Mr. Trosino numerous exceptions on the other. When she expressed

 her concerns, Defendant Jonah defended Mr. Trosino, saying, “Don’t you know what he’s been

 going through?” It had been known around the office that Mr. Trosino’s wife had left him early

 that year and that he had taken leave as a result.

        93.80. Moreover, Defendant Director of Sales Virag stated that one of the reasons that

 Ms. Wheeler had been selected for termination was that she had taken “too much time off that

 year,” referring to the time she had taken off in February 2010 related to her pregnancy and

 miscarriage. Ms. Wheeler was extremely upset by this comment and pointed out to him that she

 had been devastated by the loss of her baby. Ms. Wheeler also pointed out to him that she had

 only been gone for a week, which was less time off than Mr. Trosino had taken that year.

        94.81. On the day that she was terminated, Ms. Wheeler ranked 7th out of 36 Sales

 Associates. Mr. Trosino ranked 22nd. Moreover, as of the day she was terminated, her VPG

 was $3585 per guest, clearly above the supposed minimum. Mr. Trosino’s VPG was $1417. In

 fact, there were less than ten total employees, including Ms. Wheeler, who had met the $3100

 minimum, which meant that the other 20 Sales Associates in her office had failed to meet it.

 However, Ms. Wheeler was the only one terminated that day.




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         95.82. Soon after this conversation with Defendant VP Jonah and Defendant Director of

 Sales Virag, Ms. Wheeler called Wyndham’s HR to complaint about her termination. Ms.

 Wheeler informed the HR representative that she felt that she had been terminated wrongfully

 and that she had been held to a different standard of scrutiny than a similarly-situated male. The

 HR representative was unaware that Ms. Wheeler had been terminated, but assured her that HR

 would investigate. Ms. Wheeler never received a response to her complaint.

         96.83. Also around this time, Ms. Wheeler called Wyntegrity, Wyndham’s corporate

 integrity hotline. Ms. Wheeler filed a similar complaint expressing her concern about her

 wrongful termination. The hotline representative told Ms. Wheeler that they would conduct an

 investigation. However, she never received a response to her hotline complaint.

         97.84. Ms. Wheeler was officially terminated by Wyndham on or around August 15,

 2010.

                               CLASS ACTION ALLEGATIONS

         A.     Class Definition

         98.    The Class Representatives bring this action as a class action under Haw. R. Civ.

 Pro. 23 on behalf of themselves and all others similarly situated members of a proposed Plaintiff

 class defined as:

         All female residents of Hawai’i who are, or have been, employed by Wyndham in

 Hawai’i during the period beginning October 2, 2009 (180 days prior to March 31, 2010, the date

 of the earliest known charge of discrimination), through the present. Upon information and

 belief, there are dozens of members of the proposed class.


         B.     Efficiency of Class Prosecution of Common Claim

         99.    Class requirements under Haw. R. Civ. Pro. 23(a) are met in that:

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        a. The class is so numerous that joinder of all members is impractical. It is believed

           there are more than fifty but less than one hundred class members.

        b. There are questions of law or fact common to the class as follows:

                i. All Class Members were employed by Wyndham from October 2, 2009

                   (180 days prior to the initial March 31, 2010, EEOC charge), through the

                   present;

               ii. Wyndham’s policies and practices of discrimination against female

                   employees on the basis of their gender is prohibited conduct under Haw.

                   Rev. Stat. §§ 378-1, et seq;

              iii. Wyndham’s policies and practices have had an adverse impact upon the

                   Class Members who assert that this impact cannot be justified by a

                   business necessity;

              iv. All Class Members have and/or continue to suffer harm as a result of

                   Wyndham’s policies and practices;

               v. Wyndham’s policies and practices are common, discriminator, and are

                   directed at all Class Members.


        c. The claims of the Class Representatives are typical of the claims of the Class

           Members.     Wyndham imposed on the Class Representatives and all Class

           Members the same policy and practice of denying them promotional and/or

           career-enhancing opportunities, paying them less than their similarly-situated

           male counterparts, subjecting them to sexual harassment and a hostile work

           environment, and retaliation for engaging in protected activity. The claims of the

           Class Representatives arise out of the same course of discriminatory conduct that

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                gives rise to the claims of the Class Members, are based on the same legal theory,

                and the Class Representatives and all Class Members were adversely affected by

                the same wrongful conduct committed by Wyndham.

            d. The Class Representatives will fairly and adequately represent the interests of the

                Class Members. The interests of Class Representatives are coincident with, and

                not antagonistic to, those of the Class Members. The Class Representatives will

                prosecute the action vigorously. In addition, the Class Members are represented

                by counsel who are experienced and competent in the prosecution of disability

                discrimination and complex class action litigation.

        100.    Class requirements under Haw. R. Civ. Pro. 23(b)(2) are met because Wyndham

 has acted or refused to act on grounds generally applicable to the Class, through the imposition

 of the same policy and practice of discriminating against female employees based on grounds

 which have general application to the Class Members and through Wyndham’s refusal to protect

 Class Members from discrimination.        The Class Members seek final injunctive relief or

 corresponding declaratory relief, declaring Wyndham’s policy and practice unlawful with respect

 to the Class as a whole, directing Wyndham to provide female Sales Associates a work

 environment free from discrimination and other equitable relief that would make Class

 Representatives and Class Members whole. The Class Members compensatory and punitive

 damages claims are not inconsistent with nor do they undermine the presumption of

 cohesiveness that flows from their primary claims for injunctive, declaratory, and other equitable

 relief regarding Wyndham’s policy and practice.

        101.    While Class Representatives’ and Class Members’ claims for declaratory and

 injunctive relief are inherent and indispensable to this action, their claims are alternatively



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 suitable for certification under Haw. R. Civ. Pro. 23(b)(3), as “questions of law or fact common

 to the class members of the predominate,” and “a class action is superior to other available

 methods,” of resolving Class Representatives’ and Class Members’ claims.

                  DISCLAIMER OF FEDERAL REMOVAL JURISDICTION

         102.85.Pursuant to 28 U.S.C. 1332(d)(2), the sum or value of this action does not exceed

 $5,000,000, exclusive of interest and costs.

         103.86.Pursuant to 28 U.S.C. § 1332(d)(5), the number of members of all proposed

 Plaintiff class in the aggregate is less than 100.

         104.87.Pursuant to 28 U.S.C. 1332(d)(5), this action is not removable to federal court and

 if removed, Defendants have the burden of proving to a “legal certainty” the jurisdiction of any

 federal court over this action.

         105.88.Pursuant to 28 U.S.C. 1332(d)(11), even if the Court declines class certification

 because it concludes that some or all of the requirements of Haw. R. Civ. Pro. 23(a), (b)(2) or

 (b)(3) are not met, all of the claims in this action arise from events or occurrences and the

 injuries to Class Representatives and Class members occurred in Hawai’i.

             e.a. The individual claims of the Class Representatives require resolution of the

                 common question of whether Wyndham has engaged in a systemic pattern and/or

                 practice of gender discrimination against female Sales Associates. The Class

                 Representatives seek remedies to eliminate the adverse effects of such

                 discrimination in her own life, career, and working conditions and in the lives,

                 careers, and working conditions of the proposed class members, and to prevent

                 continued gender discrimination in the future. The Class Representatives have

                 standing to seek such relief because of the adverse effect that such discrimination



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                has had on her individually and on females Sales Associates generally. In order

                to gain such relief for themselves, as well as for the proposed class members, the

                Class Representatives will first establish the existence of systemic gender

                discrimination as the premise for the relief she seeks.

            f.b. Without class certification, the same evidence and issues would be subject to re-

                litigation in a multitude of individual lawsuits with an attendant risk of

                inconsistent adjudications and conflicting obligations.      Certification of the

                proposed class of females who have been affected by these common questions of

                law and fact is the most efficient and judicious means of presenting the evidence

                and arguments necessary to resolve such questions for the Class Representatives,

                the proposed class, and Wyndham.


        106.89.The Class Representatives’ individual and class claims are premised upon the

 traditional bifurcated method of proof and trial for disparate impact and systemic disparate

 treatment claims of the type at issue in this case. Such a bifurcated method of proof and trial is

 the most efficient method of resolving such common issues.

              FIRST CLAIM FOR RELIEF (INDIVIDUAL AND CLASS CLAIM)
                     VIOLATIONS OF HAW. REV. STAT. § 378-2

                               GENDER DISCRIMINATION
    Pay, Promotion and Career-Enhancing Opportunities, Pregnancy, and Other Forms of
                                   Disparate Treatment
     (On Behalf of All Class MembersMs. Wilson and Ms. Wheeler Against the Corporate
                                       Defendants)

        107.90.Class RepresentativesPlaintiffs re-allege and incorporate by reference all

 paragraphs above as though fully set forth herein.




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        108.91.This Claim is brought on behalf of the Class Representatives and all members of

 the ClassPlaintiffs.

        109.92.Corporate Defendants have discriminated against the Class Representatives and

 all members of the ClassPlaintiffs in violation of Haw. Rev. Stat. § 378-2 by subjecting them to

 different treatment on the basis of their gender and/or pregnancy.           The members of the

 ClassPlaintiffs have been disparately impacted and disparately treated as a result of Corporate

 Defendants’ wrongful conduct and its policies, practices and procedures and seek declaratory,

 injunctive, equitable and legal relief.

        110.93.Corporate Defendants have discriminated against the Class Representatives and

 all members of the ClassPlaintiffs by treating them differently from and less preferably than

 similarly-situated male employees and non-pregnant female employees without primary

 caregiving responsibilities, and by subjecting them to differential and substandard terms and

 conditions of employment including but not limited to discriminatory denial of fair

 compensation, denial of fair sales opportunities, discriminatory denial of promotional

 opportunities, increased scrutiny, discriminatory discipline, and other forms of discriminatory

 treatment, in violation of the Haw. Rev. Stat. § 378-2.

        111.94.Corporate Defendants’ conduct has been intentional, deliberate, willful,

 malicious, reckless and conducted in callous disregard of the rights of the Class Representatives

 and the members of the proposed class, entitling the Class Representatives and the members of

 the ClassPlaintiffs, entitling the Plaintiffs to punitive damages.

        112.95.As a result of Corporate Defendants’ conduct alleged in this complaint, the Class

 Representatives and the members of the ClassPlaintiffs have suffered and continue to suffer

 harm, including but not limited to lost earnings, lost benefits, and other financial loss, as well as



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 humiliation, embarrassment, emotional and physical distress, and mental anguish for which they

 seek declaratory, injunctive, equitable and legal relief.

        113.96.By reason of Corporate Defendants’ discrimination, the Class Representatives and

 members of the ClassPlaintiffs are entitled to all legal and equitable remedies available for

 violations of Haw. Rev. Stat. § 378-5, including an award of punitive damages.

        114.97.Attorneys’ fees should be awarded.



                 SECOND CLAIM FOR RELIEF (INDIVIDUAL AND CLASS CLAIM)
                         VIOLATIONS OF HAW. REV. STAT. § 378-2(3)

                                AIDING AND ABETTING
     (On Behalf of All Class MembersMs. Wilson and Ms. Wheeler Against the Individual

                                              Defendants)

        115.98.The Class RepresentativesPlaintiffs re-allege and incorporate by reference each

 and every allegation contained in the previous paragraphs of this Complaint as though fully set

 forth herein.

        116.99.On information and belief, Individual Defendants VP Jonah, VP Pollard, and

 Director of Sales Virag all actively and knowingly participated in practices that resulted in unfair

 compensation and promotion, a hostile work environment, and other forms of discrimination

 based on gender.

        117.100.        By aiding, abetting, inciting, compelling and/or ratifying Corporate

 Defendant Wyndham’s discriminatory practices and decisions, each Individual Defendant has

 aided and abetted both the Corporate Defendants’ and each of the other Individual Defendant’s

 discrimination against the Class Representatives and the Class of female employeesPlaintiffs, in

 violation of H.R.S. § 378-2(3).



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        118.101.        Individual Defendants’ conduct has been intentional, deliberate, willful,

 reckless, and conducted in callous disregard of Class Representatives’ and the Class members’

 rights and has damaged Class Representative and the ClassPlaintiffs’ rights.

        119.102.        The Class Representatives and the Class membersThe Plaintiffs are

 therefore entitled to all legal and equitable remedies, as well as punitive damages.

        120.103.        Attorneys’ fees should be awarded.

                        THIRD CLAIM FOR RELIEF (INDIVIDUAL CLAIM)
                        VIOLATIONS OF HAW. REV. STAT. §§ 378-62 to -65
                                          RETALIATION
                     (On Behalf of Ms. Wilson Against the Corporate Defendants)

        119.    Ms. Wilson re-alleges and incorporates by reference each and every allegation

 contained in the previous paragraphs of this Complaint as though fully set forth herein.

        120.    Ms. Wilson engaged in a protected activity by complaining about gender

 discrimination—including but not limited to pay disparity, denial of opportunities for

 professional advancement, favorable treatment towards male employees, derogatory remarks,

 and sexual harassment—to people in management positions and in Human Resources.

        121.    Defendants engaged in adverse employment actions against Ms. Wilson for

 engaging in protected activities. Such adverse employment actions taken have been in the form

 of subjecting her to unfavorable terms and conditions of employment, including, without

 limitation, denials of sales opportunities leading to pay disparity, denial of opportunities for

 professional advancement, increased scrutiny, and hostile working environments. The adverse

 employment actions have materially and adversely affected Ms. Wilson’s overall terms and

 conditions of employment.




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        122.    A reasonable employee would find the Company’s retaliatory acts materially

 adverse and such acts would dissuade a reasonable person from making or supporting a charge of

 discrimination.

        123.    Defendants’ retaliatory acts against Ms. Wilson were a direct, proximate, and

 pretextual result of Ms. Wilson’s protected activities.

        124.    Defendants’ conduct has been intentional, deliberate, willful, malicious, reckless

 and conducted in callous disregard of the rights of Ms. Wilson, entitling her to punitive damages.

        125.    As a result of Defendants’ conduct alleged in this complaint, Ms. Wilson has

 suffered and continue to suffer harm, including but not limited to lost earnings, lost benefits, and

 other financial loss, as well as humiliation, embarrassment, emotional and physical distress, and

 mental anguish.

        126.    By reason of Defendants’ discrimination, Ms. Wilson is entitled to all legal and

 equitable remedies available for violations of the H.R.S. §§ 378-62 to -65, including an award of

 punitive damages.

        127.    Attorneys’ fees should be awarded.

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                       VIOLATIONS OF HAW. REV. STAT. §§ 378-62 to -65                                   Line spacing: Exactly 12 pt, Tab stops: 1", Left


                                          RETALIATION
                     (On Behalf of Ms. Wheeler Against the Corporate Defendants)

        128.    Ms. WilsonWheeler re-alleges and incorporates by reference each and every

 allegation contained in the previous paragraphs of this Complaint as though fully set forth herein.

        129.    Ms. Wheeler engaged in a protected activity of being pregnant and taking

 pregnancy-related leave.




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        130.    Ms. Wheeler also engaged in a protected activity of complaining about gender

 discrimination to people in management positions.

        131.    Defendants engaged in adverse employment actions against Ms. Wheeler for

 engaging in protected activities. Such adverse employment actions taken have been in the form

 of subjecting her to unfavorable terms and conditions of employment, including, without

 limitation, denials of sales opportunities leading to pay disparity, denial of opportunities for

 professional advancement, increased scrutiny, and hostile working environments. The adverse

 employment actions have materially and adversely affected Ms. Wheeler’s overall terms and

 conditions of employment.

        132.    A reasonable employee would find the Company’s retaliatory acts materially

 adverse and such acts would dissuade a reasonable person from making or supporting a charge of

 discrimination.

        133.    Defendants’ retaliatory acts against Ms. Wheeler were a direct, proximate, and

 pretextual result of the Ms. Wheeler’s protected activities.

        134.    Defendants’ conduct has been intentional, deliberate, willful, malicious, reckless

 and conducted in callous disregard of the rights of Ms. Wheeler, entitling her to punitive

 damages.

        135.    As a result of Defendants’ conduct alleged in this complaint, Ms. Wheeler has

 suffered and continue to suffer harm, including but not limited to lost earnings, lost benefits, and

 other financial loss, as well as humiliation, embarrassment, emotional and physical distress, and

 mental anguish.




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        136.    By reason of Defendants’ discrimination, Ms. Wheeler is entitled to all legal and

 equitable remedies available for violations of the H.R.S. §§ 378-62 to -65, including an award of

 punitive damages.

        137.    Attorneys’ fees should be awarded.

                     FIFTH CLAIM FOR RELIEF (INDIVIDUAL CLAIM)
                        VIOLATIONS OF HAW. REV. STAT. § 378-2

                               SEXUAL HARASSMENT
  (On Behalf of Ms. Wilson Against the Corporate Defendants and Defendant VP Pollard)

        138.    Ms. Wilson re-alleges and incorporates by reference each and every allegation

 contained in the previous paragraphs of this Complaint as though fully set forth herein.

        139.     Wyndham has discriminated against Ms. Wilson by permitting an ongoing,

 severe or pervasive pattern and practice of sexual harassment against her by creating and

 maintaining a sexually hostile work environment in violation of H.R.S. § 378-2.

        140.    Wyndham’s sexual harassment detrimentally affected Ms. Wilson and altered her

 conditions of employment by creating a hostile working environment for her.

        141.    Wyndham’s conduct has been intentional, deliberate, willful, malicious, reckless

 and conducted in callous disregard of her rights.

        142.    As a direct and proximate result of Wyndham’s aforementioned conduct, Ms.

 Wilson was damaged and suffered economic losses, mental and emotional harm, anguish and

 humiliation.

        143.    By reason of the continuous nature of Wyndham’s discriminatory conduct,

 persistent throughout the employment of Ms. Wilson, she is entitled to the application of the

 continuing violation doctrine to all of the violations alleged herein.

        144.    By reason of the sexual harassment suffered at Wyndham, Ms. Wilson is entitled

 to all legal and equitable remedies available under H.R.S. § 378-5.
                                                  35




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     145.   Attorneys’ fees should be awarded.

                                  PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs pray that this Court:

     A.     Grant certification of this case as a class action maintainable under Federal Rules

            of Civil Procedure Rule 23 (a), (b)(2) and/or (b)(3), on behalf of the proposed

            Plaintiff Class; designation of the proposed Class Representative as representative

            of this Class; and designation of Plaintiff’s counsel of record as Class Counsel;

     B.A.   Declare and adjudge that the Corporate Defendants’           employment policies,

            practices and/or procedures challenged herein are illegal and in violation of the

            rights of Class Representatives and Class membersPlaintiffs;

     C.B.   Order a permanent injunction against Wyndham Worldwide Corporation,

            Wyndham Vacation Resorts, Inc., Wyndham Vacation Ownership, Inc., and its

            partners, officers, owners, agents, successors, employees and/or representatives,

            and any and all persons acting in concert with them, from engaging in any further

            unlawful practices, policies, customs, usages, and gender discrimination as set

            forth herein;

     D.C.   Order Defendants to initiate and implement programs that will: (i) provide equal

            employment opportunities for female employees; (ii) remedy the effects of the

            Defendants’ past and present unlawful employment policies, practices and/or

            procedures; and (iii) eliminate the continuing effects of the discriminatory and

            retaliatory practices described above; and/or




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     E.D.   Order Defendants to initiate and implement systems of assigning, training,

            transferring, compensating and promoting female employees in a non-

            discriminatory manner; and/or

     F.E.   Order Defendants to establish a task force on equality and fairness to determine

            the effectiveness of the programs described in D through E above, which would

            provide for: (i) monitoring, reporting, and retaining of jurisdiction to ensure equal

            employment opportunity; (ii) the assurance that injunctive relief is properly

            implemented; and (iii) a quarterly report setting forth information relevant to the

            determination of the effectiveness of the programs described in E through F

            above; and/or

     G.F.   Order Defendants to adjust the compensation and benefits for the Class

            Representatives and the Class membersPlaintiffs to the level that they would be

            enjoying but for the Defendants’ discriminatory policies, practices and/or

            procedures; and/or

     H.G.   Order Defendants to place or restore the Class Representatives and the Class

            membersPlaintiffs into those jobs they would now be occupying but for

            Defendants’ discriminatory policies, practices and/or procedures; and/or

     I.H.   Order that this Court retain jurisdiction of this action until such time as the Court

            is satisfied that the Defendants have remedied the practices complained of herein

            and are determined to be in full compliance with the law; and/or

     J.I.   Award nominal, compensatory and punitive damages for each and every claim

            made herein; and/or




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     K.J.   Award for all damages allowed or recoverable by law, i.e. compensatory, special

            and general damages as allowed by law; and/or

     L.K.   Pre-judgment interest; and/or

     M.L. Award litigation costs and expenses, including, but not limited to, reasonable

            attorneys’ fees, to the Class Representatives and Class membersPlaintiffs; and/or

     N.M. Award back pay, front pay, lost benefits, preferential rights to jobs and other

            damages for lost compensation and job benefits with pre-judgment and post-

            judgment interest suffered by the Class Representatives and the Class

            membersPlaintiffs to be determined at trial; and/or

     O.N.   Order Defendants to make whole the Class Representatives and Class

            membersPlaintiffs by providing them with appropriate lost earnings and benefits,

            and other affirmative relief; and/or

     P.O.   Award punitive damages in an amount sufficient to punish and deter Defendants

            from engaging in any such conduct in the future and as an example to other

            employers; and/or

     Q.P.   Award any other appropriate equitable relief to the Class Representatives and

            Class membersPlaintiffs; and/or

     R.Q.   Award any additional and further relief as this Court may deem just and proper.




     Dated: June 6, 2011                    ______________________________________




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     Dated: November 14, 2012   ___________________________________
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 Attorneys for Plaintiffs


                    IN THE CIRCUIT COURT FOR THE FIFTH CIRCUIT
                                 STATE OF HAWAI’I



   LIANE WILSON, and
   JOANNA WHEELER ON BEHALF OF                     ) Civ. No. __________________
   THEMSELVES AND ON BEHALF OF OTHER               ) (Class Action – Civil Rights)
   FEMALES SIMILARLY SITUATED,                     )
                                                   )
                       CLASS REPRESENTATIVES,      )
                                                   )
           v.                                      )
                                                   )
   WYNDHAM WORLDWIDE CORPORATION,                  ) CLASS ACTION COMPLAINT
   WYNDHAM VACATION OWNERSHIP, INC.,               )
   WYNDHAM VACATION RESORTS, INC.,                 )
   MICHAEL JONAH, MARK POLLARD, TOM                )
   VIRAG, DOE I through X, and ROE BUSINESS        )
   ENTITIES I through X, inclusive,                )
                                                   ) JURY TRIAL DEMANDED
                                                   )
                       DEFENDANTS.                 )
                                                   )




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                                            SUMMONS

        STATE OF HAWAI’I

        To the above-named defendants:

        You are hereby summoned and required to serve upon Plaintiffs’ counsel, whose address

 is 555 Montgomery Street, Suite 1206, San Francisco, CA 94111, an answer to the complaint

 which is herewith served upon you, within 20 days after service of this summons upon you,

 exclusive of the day of service. If you fail to do so, judgment by default will be taken against

 you for the relief demanded in the complaint.

        This summons shall not be personally delivered between 10:00pm and 6:00am on

 premises not open to the public, unless a judge of the district or circuit courts permits, in writing

 on the summons, personal delivery during those hours.



        DATED:          Honolulu, Hawai’i, June ___, 2011


                                                             _______________________________
                                                                    Clerk of the Court
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